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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

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                                   7     RODNEY CARVALHO, et al.,                           Case No. 21-cv-08015-BLF
                                   8                    Plaintiffs,
                                                                                            ORDER GRANTING IN PART AND
                                   9             v.                                         DENYING IN PART MOTION TO
                                                                                            DISMISS SECOND AMENDED
                                  10     HP, INC.,                                          COMPLAINT
                                  11                    Defendant.                          [Re: ECF No. 46]
                                  12
Northern District of California
 United States District Court




                                  13          In this case, Plaintiffs Rodney Carvalho and Mark Maher challenge the manner in which
                                  14   Defendant HP Inc. advertises products on its website. Plaintiffs allege that HP displays false and
                                  15   inflated “strikethrough” prices for its products that it then offers to consumers at a purported
                                  16   “discount price.” HP allegedly markets its products this way to create the impression that
                                  17   consumers are saving money when in fact HP never sells its products at the higher strikethrough
                                  18   prices. Plaintiffs seek to represent classes of individuals who purchased purportedly discounted
                                  19   products on HP’s website in the last five years.
                                  20          Now before the Court is HP’s motion to dismiss the Second Amended Complaint under
                                  21   Federal Rules of Civil Procedure 9(b) and 12(b)(6). See ECF No. 46 (“MTD”); see also ECF No.
                                  22   54 (“Reply”). Plaintiffs oppose the motion. ECF No. 51 (“Opp.”). The Court held a hearing on
                                  23   the motion on December 15, 2022. See ECF No. 56. For the following reasons, HP’s motion to
                                  24   dismiss the Second Amended Complaint is GRANTED IN PART AND DENIED IN PART.
                                  25     I.   BACKGROUND
                                  26          As alleged in the Second Amended Complaint and accepted as true for the purposes of this
                                  27   motion, Defendant HP Inc. is a technology company that sells computers and related peripheral
                                  28   parts, software, and services to consumers in the United States through its website HP.com. ECF
                                   1   No. 43 (“SAC”) ¶¶ 1, 15, 20.

                                   2             Plaintiffs allege that HP creates an illusion of savings on its website by advertising false

                                   3   strikethrough prices and discounts based on those prices. SAC ¶ 23. For any given product, HP’s

                                   4   website displays a price in strikethrough typeface (i.e., $999.99). Id. ¶ 24. At the bottom of each

                                   5   page, HP includes a section entitled “Disclaimer +”. ECF No. 19-1, Ex. A (“HP RJN”)1, ECF No.

                                   6   22-1 (“Rozenblatt Decl.”) Ex. 2. Clicking on the “+” expands the Disclaimer section. Rozenblatt

                                   7   Decl. Exs. 2–3. One of the disclaimers makes clear that the strikethrough price is a

                                   8   Manufacturer’s Suggested Retail Price (“MSRP”). It states:

                                   9                    HP’s MSRP is subject to discount. HP’s MSRP price is shown as
                                                        either a stand-alone price or as a strikethrough price with a discounted
                                  10                    or promotional price also listed. Discounted or promotional pricing
                                                        is indicated by the presence of an additional higher MSRP
                                  11                    strikethrough price.
                                  12   See HP RJN. No asterisk or other indication of a disclaimer appears next to the strikethrough
Northern District of California
 United States District Court




                                  13   prices. Rozenblatt Decl. Ex. 1.

                                  14             Near the strikethrough price and typically in a larger and bolder font, HP advertises a “sale

                                  15   price,” the price at which the product is currently offered for sale. SAC ¶ 25. Throughout its

                                  16   website, HP also advertises discounts of savings using words such as “Save,” “You’ll Save,” and

                                  17   “You Saved.” Id. ¶ 26. As a customer goes through the purchasing process and after their order,

                                  18   HP displays many of these same representations that the customer has saved money. Id. ¶¶ 28–31.

                                  19   Plaintiffs allege that approximately 35% of the products HP sells on its website are sold in this

                                  20   manner. Id. ¶ 32.

                                  21             In general, however, the savings HP advertises on its website do not represent the actual

                                  22   savings that customers receive because the strikethrough prices do not represent the actual prices

                                  23   at which computers were sold or offered for sale for a reasonably substantial period of time. SAC

                                  24   ¶ 32. For example, on March 27, 2021, HP advertised its HP ENVY laptop for sale at $799.99

                                  25   and represented to customers that they were saving $150 from the strikethrough price of $949.99.

                                  26   Id. ¶ 34. But Plaintiffs allege that in the months that followed, HP rarely, if ever, sold the ENVY

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                                           The Court previously granted HP’s request for judicial notice.
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                                   1   laptop at a price of $949.99. Id. ¶ 35. HP engages in similar pricing practices for other products,

                                   2   including products other than computers. Id. ¶¶ 36–37 (charts showing prices of other products

                                   3   over multiple months). Plaintiffs allege that they have no way of determining if the prices HP

                                   4   advertises as strikethrough prices are in fact prices at which HP ever sells its products. Id. ¶ 50.

                                   5          Additionally, according to Plaintiffs, HP falsely advertises that the discounts are available

                                   6   only for a limited time when in fact those discounts continue beyond their advertised expiration

                                   7   date. SAC ¶ 38. For example, HP advertises “Weekly Deals,” but those deals in fact last longer

                                   8   than one week and in some cases don’t end for months. Id. ¶¶ 40–42. HP also advertises similar

                                   9   sales, such as a “Memorial Day Special” and “Flash Sales”. Id. ¶¶ 43–47. This practice induces

                                  10   consumers to make purchases they otherwise may not have made due to a false sense of urgency

                                  11   in obtaining a lower price. Id. ¶ 38.

                                  12          Further, according to Plaintiffs, the “vast majority” of computers sold on HP’s website are
Northern District of California
 United States District Court




                                  13   sold exclusively on HP’s website and not from traditional big box retailers. SAC ¶ 52. Plaintiffs

                                  14   allege that, as of June 29, 2022, HP advertised 155 desktop computers at a discount on its website

                                  15   and of those, only three were available for purchase directly from a Big Box Retailer. Id. ¶ 53, Ex.

                                  16   A. Similarly, Plaintiffs allege that, as of June 29, 2022, HP advertised 121 laptop and notebook

                                  17   computers at a discount on its website and of those, only two were available for purchase directly

                                  18   from a Big Box Retailer. Id. ¶ 54, Ex. B. Plaintiffs further allege that the precise number and

                                  19   identity of products sold exclusively on HP’s website as opposed to non-exclusively is information

                                  20   that is “peculiarly within HP’s knowledge.” Id. ¶¶ 56-57.

                                  21          On September 7, 2021, Plaintiff Rodney Carvalho purchased from HP’s website an HP

                                  22   All-in-One 24-dp1056qe PC and HP X3000 G2 Wireless Mouse. SAC ¶ 58. The All-in-One PC

                                  23   was advertised as being on sale for $899.99 from a strikethrough price of $999.99, which HP

                                  24   represented was a savings of $100. Id. ¶ 59. HP also advertised an additional 5% savings with a

                                  25   coupon code for a Labor Day sale. Id. Carvalho added the All-in-One PC to his cart and was then

                                  26   told that he could purchase the G2 Mouse for $11.99, $5.00 off the strikethrough price of $16.99.

                                  27   Id. ¶¶ 60–61. He added the G2 Mouse to his cart. Id. ¶ 62. In his shopping cart, HP stated that

                                  28   “YOU SAVED $105.00 ON YOUR ORDER.” Id. ¶ 63. Carvalho typed in the coupon code and
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                                   1   received an additional 5% for the Labor Day sale. Id. ¶ 64. Two further checkout pages, the order

                                   2   confirmation page, and an order confirmation email told Carvalho that he saved $168.60 on his

                                   3   order. Id. ¶¶ 65–68. Carvalho alleges that HP did not sell the All-in-One PC at $999.99 or the G2

                                   4   Mouse at $16.99 for any reasonably substantial period of time in the three months prior to his

                                   5   purchase or in the one month following his purchase. Id. ¶ 70-71. Carvalho alleges that neither

                                   6   item was available for purchase directly from a big box retailer. Id. ¶¶ 73-74.

                                   7           On June 14, 2021, Plaintiff Mark Maher purchased from HP’s website an HP Laptop 17t-

                                   8   by400. SAC ¶ 75. The 17t Laptop was advertised as being on sale for $599.99, $130 off the

                                   9   strikethrough price of $729.99. Id. ¶ 76. Maher added the product to his cart and purchased an

                                  10   additional Wi-Fi adapter to bring his total purchase to $699.99. Id. ¶ 78. In his shopping cart, HP

                                  11   stated that “YOU SAVED $130.00 ON YOUR ORDER.” Id. ¶ 79. Two further checkout pages

                                  12   and the order confirmation page indicated that Maher saved $130. Id. ¶¶ 80–81, 83. Maher
Northern District of California
 United States District Court




                                  13   alleges that HP did not sell the 17t Laptop at $729.99 for any reasonably substantial period of

                                  14   time. Id. ¶ 85. Maher alleges that this item was not available for purchase directly from a big box

                                  15   retailer. Id. ¶ 87.

                                  16           Plaintiffs filed this lawsuit on October 13, 2021, see ECF No. 1, and filed the First

                                  17   Amended Complaint on December 30, 2021, see ECF No. 18 (“FAC”). The FAC was dismissed

                                  18   with leave to amend. Carvalho v. HP, Inc., No. 21-cv-08015-BLF, 2022 WL 2290595 (N.D. Cal.

                                  19   June 24, 2022) (“First MTD Order”). Plaintiffs filed the operative Second Amended Complaint

                                  20   on July 15, 2022. See SAC. The Second Amended Complaint asserts four causes of action: (1)

                                  21   violation of California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750, SAC

                                  22   ¶¶ 96–103; (2) unjust enrichment, SAC ¶¶ 104–115; (3) violation of California’s False Advertising

                                  23   Law (“FAL”), Cal. Bus. & Prof. Code § 17500, SAC ¶¶ 116–129; and (4) violation of California’s

                                  24   Unfair Competition Law (“UCL”), SAC ¶¶ 130–136. Plaintiffs seek to represent a class of all

                                  25   individuals and entities that, on or after October 13, 2017, purchased one or more HP products on

                                  26   HP’s website that were advertised as discounted from a strikethrough price. SAC ¶ 88. Plaintiffs

                                  27   also seek to represent one subclass of class members who are “consumers” within the meaning of

                                  28   Cal. Civ. Code § 1761(d) and made their purchases on or after October 13, 2018. Id.
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                                        II.    LEGAL STANDARD
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                                               “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to state a
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                                       claim upon which relief can be granted ‘tests the legal sufficiency of a claim.’” Conservation
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                                       Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011) (quoting Navarro v. Block, 250 F.3d
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                                       729, 732 (9th Cir. 2001)). When determining whether a claim has been stated, the Court accepts
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                                       as true all well-pled factual allegations and construes them in the light most favorable to the
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                                       plaintiff. Reese v. BP Expl. (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011). However, the Court
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                                       need not “accept as true allegations that contradict matters properly subject to judicial notice” or
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                                       “allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable
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                                       inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (citation omitted).
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                                       While a complaint need not contain detailed factual allegations, it “must contain sufficient factual
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                                       matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,
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Northern District of California




                                       556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A
 United States District Court




                                  13
                                       claim is facially plausible when it “allows the court to draw the reasonable inference that the
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                                       defendant is liable for the misconduct alleged.” Id. On a motion to dismiss, the Court’s review is
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                                       limited to the face of the complaint and matters judicially noticeable. MGIC Indem. Corp. v.
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                                       Weisman, 803 F.2d 500, 504 (9th Cir. 1986); N. Star Int’l v. Ariz. Corp. Comm’n, 720 F.2d 578,
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                                       581 (9th Cir. 1983).
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                                               “In alleging fraud or mistake, a party must state with particularity the circumstances
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                                       constituting fraud or mistake.” Fed. R. Civ. P. 9(b). “Malice, intent, knowledge, and other
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                                       conditions of a person’s mind may be alleged generally.” Id. Rule 9(b) demands that the
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                                       circumstances constituting any alleged fraud be plead “specific[ally] enough to give defendants
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                                       notice of the particular misconduct . . . so that they can defend against the charge and not just deny
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                                       that they have done anything wrong.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir.
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                                       2009) (internal citation omitted). Claims of fraud must be accompanied by the “who, what, when,
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                                       where, and how” of the misconduct alleged. Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997),
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                                       superseded by statute on other grounds (internal citation omitted).
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                                       III.   JUDICIAL NOTICE
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                                              HP filed a request for judicial notice in connection with its motion to dismiss. ECF No.
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                                       46-1 (“RJN”). HP requests that the Court take judicial notice of eleven exhibits, all of which are
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                                       printouts of webpages listing various HP products for sale. See id. Plaintiffs oppose the request.
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                                       ECF No. 51-1 (“RJN Opp.”). They dispute the information contained in the printouts, particularly
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                                       HP’s allegation that certain retailers sell certain products, and they argue that one exhibit omits
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                                       essential information. RJN Opp. at 2-3; see also ECF No. 51-2 (“Rozenblatt RJN Decl.”) ¶¶ 5-7.
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                                       They further argue that the exhibits that are printouts of mouses are not of the same mouse
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                                       purchased by Carvalho. RJN Opp. at 3; see also Rozenblatt RJN Decl. ¶¶ 2-4.
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                                              The Court finds that it is difficult to understand the relevance of these documents without
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                                       an analysis from HP or an outside expert. Further, the Court is concerned that taking judicial
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                                       notice of these documents will turn this motion to dismiss into a de facto motion for summary
                                  12
Northern District of California




                                       judgment. And the Court further notes the several objections made by Plaintiffs. The Court
 United States District Court




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                                       therefore DENIES HP’s request for judicial notice.
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                                       IV.    DISCUSSION
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                                              The Court evaluates each of HP’s arguments in turn.
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                                              A.    Limited Time and Limited Quantity Offers
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                                              The SAC alleges that HP falsely advertises limited time and limited quantity offers. SAC
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                                       ¶¶ 7-12, 38-47. HP argues that neither Carvalho nor Maher has standing to bring a claim as to
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                                       limited quantity offers because they do not allege that they relied on a limited quantity offer in
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                                       purchasing their products. MTD at 12-13. It further argues that Maher does not have standing to
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                                       bring a claim as to limited time offers because he does not allege that he relied on any limited time
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                                       offers. Id. Plaintiffs do not disagree, but they emphasize that the Court already decided that
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                                       Carvalho has provided sufficient allegations as to limited time offers. Opp. at 12.
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                                              1.      The Court agrees with the parties. The portion of Plaintiffs’ SAC naming the
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                                       causes of action and their bases does not mention limited quantity offers, see SAC ¶¶ 96-136, but
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                                       the Court will still make clear that Plaintiffs may not move forward on a theory as to limited
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                                       quantity offers. As to limited time offers, the Court reiterates that Carvalho has standing to
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                                   1   proceed on this theory. The motion to dismiss the FAL, UCL, and CLRA claims as to a limited

                                   2   quantity theory is GRANTED. The motion to dismiss the FAL, UCL, and CLRA claims as to a

                                   3   limited time theory is DENIED as to Carvalho and GRANTED as to Maher.

                                   4          B.     FAL, UCL, and CLRA Claims
                                   5           HP moves to dismiss the UCL, CLRA, and FAL claims. HP argues that Plaintiffs have not

                                   6   shown that the strikethrough prices are false or misleading. MTD at 6-12. It also argues that

                                   7   Plaintiffs have not shown the prices are likely to deceive a reasonable consumer. Id. at 13-14.

                                   8           California’s UCL prohibits any “unlawful, unfair or fraudulent business act or practice.”

                                   9   Cal. Bus. & Prof. Code § 17200. “California’s FAL prohibits any unfair, deceptive, untrue or

                                  10   misleading advertising.” Id. (internal quotation marks and citation omitted). A violation of the

                                  11   FAL necessarily constitutes a violation of the UCL. See id. Finally, “California’s CLRA

                                  12   prohibits ‘unfair methods of competition and unfair or deceptive acts or practices.’” Id. (quoting
Northern District of California
 United States District Court




                                  13   Cal. Civ. Code § 1770).

                                  14           “Whether a business practice is deceptive or misleading under these California statutes [is]

                                  15   governed by the reasonable consumer test.” Mars Petcare US, Inc. v. Moore, 966 F.3d at 1017

                                  16   (internal quotation marks and citations omitted). Under this standard, Plaintiffs “must show that

                                  17   members of the public are likely to be deceived.” Williams v. Gerber Prod. Co., 552 F.3d 934,

                                  18   938 (9th Cir. 2008) (internal quotation marks and citation omitted). The reasonable consumer test

                                  19   may be satisfied by advertising that is false or, alternatively, advertising that is true but

                                  20   nonetheless misleading. See id. However, “a plaintiff’s unreasonable assumptions about

                                  21   [advertising] will not suffice.” Moore v. Trader Joe’s Co., 4 F.4th 874, 882 (9th Cir. 2021). Thus,

                                  22   while application of the reasonable consumer test typically involves question of fact that may not

                                  23   be resolved on a motion to dismiss, dismissal is appropriate where the court determines that the

                                  24   plaintiff’s claims are not plausible. See id. at 886. (“In sum, the district court properly dismissed

                                  25   this action under Federal Rule of Civil Procedure 12(b)(6) because Trader Joe’s representations on

                                  26   the front label and the ingredients statement of its Manuka Honey product are not misleading to a

                                  27   reasonable consumer as a matter of law.”); Becerra v. Dr Pepper/Seven Up, Inc., 945 F.3d 1225,

                                  28   1231 (9th Cir. 2019) (“Becerra has not sufficiently alleged that Diet Dr Pepper’s labeling is false
                                                                                           7
                                   1   or misleading and dismissal was therefore proper.”).

                                   2                 1. False or Misleading Prices
                                   3          Courts in this circuit applying the reasonable consumer test to cases like this one have

                                   4   divided price comparison cases into two categories: cases involving “exclusive products” and

                                   5   those involving “non-exclusive products.” See Sperling v. Stein Mart, Inc., 291 F. Supp. 3d 1076,

                                   6   1084 (C.D. Cal. 2018).2 “In exclusive product cases, a store, often an outlet store, sells a lower-

                                   7   price, different version of a product sold in traditional retail stores. The outlet uses the price of the

                                   8   product made for the retail store as a comparative reference price on price tags. However, the

                                   9   actual product being sold in the outlet is made exclusively for the outlet and is never sold for the

                                  10   comparative reference price at a traditional retail store.” Id. Courts allow those cases to proceed

                                  11   based on allegations specific to that outlet or retail store exclusively selling the product. See, e.g.,

                                  12   Rubenstein v. Neiman Marcus Grp. LLC, 687 F. App’x 564, 567 (9th Cir. 2017) (reversing grant
Northern District of California
 United States District Court




                                  13   of motion to dismiss where plaintiff alleged that Neiman Marcus outlet used reference prices to

                                  14   products sold at Neiman Marcus retail stores, but products were made exclusively for the outlet

                                  15   store); Branca v. Nordstrom, Inc., No. 14cv2062-MMA (JMA), 2015 WL 10436858, at *7 (N.D.

                                  16   Cal. Oct. 9, 2015) (denying motion to dismiss on similar basis as to Nordstrom Rack and

                                  17   Nordstrom retail stores). “In non-exclusive product cases, on the other hand, more than one

                                  18   retailer offers the product at issue for sale. Because other retailers offer the same product for sale,

                                  19   there are legitimate prices to which to compare the defendant's comparative reference price. In

                                  20   those cases, courts tend to reject claims unless the plaintiff establishes that the comparative

                                  21   reference price is misleading.” Stein Mart, 291 F. Supp. 3d at 1084.

                                  22          This Court previously stated there was “no dispute that this is a ‘non-exclusive products’

                                  23   case in which ‘more than one retailer offers the product at issue for sale.’” Carvalho, 2022 WL

                                  24   2290595, at *4 (quoting Stein Mart, 291 F. Supp. 3d at 1084). But Plaintiffs now dispute this

                                  25   characterization. Plaintiffs allege that the “vast majority” of HP’s desktop, laptop, and notebook

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                                  27     Although Stein Mart adjudicated a motion for class certification and motion for summary
                                       judgment, its discussion of the different standards for exclusive products and non-exclusive
                                  28   products cases remains instructive. Several of the decisions it cites (which are also cited in this
                                       Order) adjudicated motions to dismiss.
                                                                                         8
                                   1   computers are not sold at big box retailers. See SAC ¶¶ 52-57. If this is the case, then the Court

                                   2   cannot look to “comparative reference price[s]” from these retailers to tell whether the

                                   3   strikethrough price is misleading. See Stein Mart, 291 F. Supp. 3d at 1084. Instead, Plaintiffs

                                   4   argue, the Court has to look at the prices at which HP sells the products, which it alleges are

                                   5   usually below the strikethrough price. Opp. at 11. HP argues that the products are sold at other

                                   6   retailers. MTD at 6-12.

                                   7          The Court finds that the exclusive vs. non-exclusive product framework is not particularly

                                   8   instructive in this case, as the facts do not fit neatly into either category. According to Plaintiffs’

                                   9   allegations, which are based on a thorough investigation and must be taken as true at this stage, the

                                  10   majority of the relevant HP products are not sold at traditional big box retailers, suggesting they

                                  11   are not non-exclusive products. See SAC ¶¶ 52-57. On the other hand, this is not a traditional

                                  12   exclusive product case, as there are no allegations that HP is selling these products at some sort of
Northern District of California
 United States District Court




                                  13   discount or outlet store. See, e.g., Rubenstein, 687 F. App’x 564 (Neiman Marcus outlet vs.

                                  14   Neiman Marcus retail store); Branca, 2015 WL 10436858 (Nordstrom vs. Nordstrom Rack). The

                                  15   Court declines to attempt to put this case into a category that is not a good fit. Instead, the Court

                                  16   will look at the reasoning underlying both non-exclusive and exclusive products cases: whether a

                                  17   price is false or misleading in light of the price(s) at which that item is generally available for

                                  18   purchase. Cf. Fisher v. Eddie Bauer LLC, No. 19cv857 JM (WVG), 2020 WL 4218228, at *4

                                  19   (S.D. Cal. Feb. 3, 2020) (“[T]he alleged fraud, i.e. that the discounted merchandise was not truly

                                  20   discounted, is the same regardless of whether the product is exclusive or not.”).

                                  21          Plaintiffs allege that the strikethrough prices displayed on HP’s website did not reflect the

                                  22   price at which the products were sold on HP’s website in the weeks and months prior to their

                                  23   purchases. See SAC ¶¶ 4, 35, 36, 37, 70, 71, 85. And Plaintiffs allege that, based on an

                                  24   investigation in June 2022, very few of these products are available for purchase at third-party

                                  25   retailers. Id. ¶¶ 52-57. Of those that are available, the prices are all somewhere between the HP

                                  26   strikethrough price and the HP sale price. See Id. Exs. A, B. The Court further notes that “the

                                  27   particular facts as to whether the [strikethrough] prices are fictitious are likely only known to

                                  28   [HP].” See Rubenstein, 687 F. App’x at 568.
                                                                                          9
                                   1           HP makes several arguments as to why the strikethrough prices are not misleading. They

                                   2   argue that Plaintiffs’ investigation as to whether the products were sold at third-party retailers was

                                   3   not thorough, that Plaintiffs’ investigation shows the strikethrough prices are not misleading, that

                                   4   Plaintiffs’ investigation was too late in time, and that Plaintiffs’ investigation did not include all

                                   5   the relevant products. MTD at 7-12. As to the first argument, whether Plaintiffs’ allegations as to

                                   6   sale at third-party retailers is accurate, the Court notes its discussion on the request for judicial

                                   7   notice. The Court accepts Plaintiffs’ allegations as to the availability of the products at third-party

                                   8   retailers, which was based on a thorough investigation, as true. See SAC Exs. A, B. HP next

                                   9   argues that when Plaintiffs did find the items for sale at third-party retailers, their prices were

                                  10   “uniformly higher than HP’s sale prices and very close to the strikethrough prices.” MTD at 9-10.

                                  11   The Court agrees that all the prices at third-party retailers were higher than HP’s sale prices, but it

                                  12   notes that they were also uniformly lower than HP’s strikethrough prices. See SAC Exs. A, B.
Northern District of California
 United States District Court




                                  13   And while some third-party prices were quite close to the strikethrough price, others were not. See

                                  14   id. Further, the Court’s analysis is based not only on these prices, but also the prices for which

                                  15   products were available at HP before and after Plaintiffs’ purchase. Third, HP argues that the

                                  16   investigation into sale prices at third-party retailers was insufficient because it took place about a

                                  17   year after the purchases at issue in this case. MTD at 9. The Court notes that Plaintiffs provide

                                  18   the date of their investigation as required by Rule 9(b). The Court also notes that “in cases where

                                  19   fraud is alleged, we relax pleading requirements where the relevant facts are known only to the

                                  20   defendant.” Rubenstein, 687 F. App’x at 568 (quoting Concha v. London, 62 F.3d 1493, 1503 (9th

                                  21   Cir. 1995)). Information as to availability and price at third-party retailers in June and September

                                  22   2021 is likely better known to HP. The Court finds the date of Plaintiffs’ investigation is

                                  23   sufficiently close to the date of the purchases for purposes of a motion to dismiss. And finally, HP

                                  24   argues that Plaintiffs did not do an investigation of third-party retailers for the non-computer

                                  25   products in the case. MTD at 10-12. But Plaintiffs did provide an allegation as to the one non-

                                  26   computer product that they purchased. SAC ¶ 74. And Plaintiffs are not required at this early

                                  27   stage to do an investigation of every HP product. The investigation was sufficient as to HP

                                  28   products as a whole to survive a motion to dismiss. See id. Exs. A, B.
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                                   1          The Court finds that the totality of Plaintiffs’ allegations as to the prices for which the

                                   2   products are sold at HP and for which they are sold (or not sold) at third-party retailers show “why

                                   3   [the strikethrough prices] [did] not accurately reflect prevailing market prices.” See Stein Mart,

                                   4   291 F. Supp. 3d at 1084 (quoting Sperling v. DSW Inc., No. EDCV 15-1366-JGB (SPx), 2015 WL

                                   5   13309476, at *9 (C.D. Cal. Nov. 19, 2015)). The Court therefore concludes that Plaintiffs have

                                   6   adequately alleged that the strikethrough prices are misleading.

                                   7                2. Reasonable Consumer
                                   8          HP also argues that Plaintiffs have not shown that the strikethrough prices are likely to

                                   9   deceive a reasonable consumer. MTD at 13–14. HP points to the fact that it provides a disclaimer

                                  10   explaining that the strikethrough prices are MSRPs, and HP argues that it does not use the

                                  11   “descriptive terminology” that is used to indicate former price comparisons under federal

                                  12   regulation or that courts have found to be misleading. Id. at 14. These include terms such as
Northern District of California
 United States District Court




                                  13   “regularly,” “usually,” “formerly,” and “reduced to.” Id. And HP argues that consumers

                                  14   understand that manufacturers often provide a discount from the MSRP. Id.

                                  15          But as the Court stated in its First MTD Order, “the fact that a consumer could only learn

                                  16   that the strikethrough price is a MSRP upon reading the fine print at the bottom of the webpage

                                  17   and then clicking on the ‘+’ suggests that a reasonable consumer could justifiably be unaware of

                                  18   that disclaimer.” Carvalho, 2022 WL 2290595, at *5; see also Sperling v. Stein Mart, Inc., No.

                                  19   CV 15-01411 BRO (KKx), 2016 WL 11265686, at *5-6 (C.D. Cal. Mar. 15, 2016) (declining to

                                  20   resolve on motion to dismiss whether reasonable consumer would be deceived by a “compare at”

                                  21   price where consumer must go beyond the price tag to find the pricing policy, even though the

                                  22   “compare at” language included an asterisk). The fact that HP uses a strikethrough instead of the

                                  23   identified terms is not determinative as to whether it will deceive a reasonable consumer. The

                                  24   Court continues to find that “whether the price or the disclaimer is advertised in a way that is

                                  25   ‘likely to deceive” a reasonable consumer in violation of the broad provisions of the FAL, UCL,

                                  26   and CLRA is an issue the Court cannot resolve at this juncture.” Carvalho, 2022 WL 2290595, at

                                  27   *5; see also Nunez v. Saks Inc., 771 F. App’x 401, 403 (9th Cir. 2019) (“Misinformation about a

                                  28   product’s ‘normal’ price is . . . significant to many consumers in the same way as a false product
                                                                                         11
                                   1   label would be.” (quoting Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1106 (9th Cir. 2003), as

                                   2   amended on denial of reh’g and reh’g en banc (July 8, 2013))). The Court therefore concludes

                                   3   that Plaintiffs have adequately alleged that a reasonable consumer is likely to be deceived by the

                                   4   strikethrough prices.

                                   5                                                         ***

                                   6            HP’s motion to dismiss the FAL, UCL, and CLRA claims is DENIED.

                                   7          C.     Unjust Enrichment Claim
                                   8            HP argues that Plaintiffs’ unjust enrichment claim should be dismissed if the underlying

                                   9   fraud-based claims are dismissed. MTD at 14–15. Because the Court does not dismiss the

                                  10   underlying fraud-based claims, HP’s motion to dismiss the unjust enrichment claim on this basis is

                                  11   DENIED.

                                  12    V.      ORDER
Northern District of California
 United States District Court




                                  13            For the foregoing reasons, IT IS HEREBY ORDERED that HP’s motion to dismiss is:

                                  14            2.     GRANTED as to a limited quantity theory for the FAL, UCL, and CLRA claims;

                                  15            3.     DENIED as to a limited time theory for the FAL, UCL, and CLRA claims for

                                  16   Carvalho and GRANTED as to a limited time theory for the FAL, UCL, and CLRA claims for

                                  17   Maher;

                                  18            4.     DENIED as to the FAL, UCL, and CLRA claims; and

                                  19            5.     DENIED as to the unjust enrichment claim.

                                  20

                                  21   Dated: December 20, 2022

                                  22                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  23                                                    United States District Judge
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